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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 Elizabeth Concepcion,

                                     Plaintiff,                                     20 CV 03460 (KMK)

                   -v-                                                             ORDER OF DISMISSAL

 Zwilling J.a. Henckels, LLC,

                                     Defendants.

                                                                        X


 KENNETH M. KARAS, United States District Judge:

          The Court having been advised that all claims asserted herein have been settled, it is
  ORDERED that the above-entitled action be and is hereby dismissed and discontinued without
· costs, and without prejudice to the right to reopen the action within thirty days of the date of this
  Order if the settlement is not consummated.

         To be clear, any application to reopen must be filed within thirty days of this Order;
 any application to reopen filed thereafter may be denied solely on that basis. Further, if the
 parties wish for the Court to retain jurisdiction for the purposes of enforcing any settlement
 agreement, they must submit the settlement agreement to the Court within the same thirty day
 period to be "so ordered" by the Court. Per Paragraph 4(B) of the Court' s Individual Rules and
 Practices for Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction
 to enforce a settlement agreement unless it is made part of the public record.

         Any pending motions are denied. All conferences are vacated. The Clerk of Court is
 directed to close the case.




                                                                            KENNETH M. KARAS , U .S.D.J.


 Dated: October 2, 2020
        White Plains, New York
